              Case 4:17-cv-03806-CW Document 82-1 Filed 07/10/18 Page 1 of 8




     Matthew P. McCue
 1
     Email: mmccue@massattorneys.net
 2   LAW OFFICE OF MATTHEW P. MCCUE, P.C.
     1 South Ave., Third Floor
 3   Natick, MA 01760
     Telephone: 508 655 1415
 4
     Facsimile: 508 319 3077
 5
     Attorneys for Plaintiff and the Proposed Class
 6
 7
 8                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     DR. TIMOTHY COLLINS and SIDNEY
10
     NAIMAN, individually and on behalf of all           Case No. 4:17-cv-03806-CW
11   others similarly situated,
                                                         DECLARATION OF MATTHEW P.
12                          Plaintiff,                   McCUE IN SUPPORT OF
                                                         PLAINTIFF’S MOTION FOR
13                                                       CLASS CERTIFICATION
            v.
14
     TOTAL MERCHANT SERVICES, INC.,                      JURY TRIAL DEMAND
15   QUALITY MERCHANT SERVICES, INC.,
     MICHAEL ALIMENTO and BOBBY                          Complaint Filed: July 5, 2017
16   POWERS
17                  Defendants.                          DATE:               August 14, 2018

18                                                       TIME:               2:30 p.m.

19                                                       LOCATION:           1301 Clay St.,
                                                                             Oakland, CA 94612
20
21          I, Matthew P. McCue, declare as follows:
22          1.      I am the principal at the law firm of The Law Office of Matthew P. McCue,
23   co-counsel of record for Plaintiff in this matter. I am a member in good standing of the bar in the
24   Commonwealth of Massachusetts. I respectfully submit this declaration in support of Plaintiff’s
25   Motion for Class Certification. I have personal knowledge of the following facts:
26          2.      I have extensive experience in the prosecution of class actions on behalf of
27   consumers, particularly claims under the Telephone Consumer Protection Act, 47 U.S.C. §227.
28
                                                 -1-
                   DECL. MATTHEW P. MCCUE SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
              Case 4:17-cv-03806-CW Document 82-1 Filed 07/10/18 Page 2 of 8




 1          3.      I am a 1993 honors graduate of Suffolk Law School in Boston, Massachusetts.
 2   Following graduation from law school, I served as a law clerk to the Justices of the
 3   Massachusetts Superior Court. I then served a second year as a law clerk for the Hon. F. Owen
 4   Eagan, United States Magistrate Judge for the USDC District of Connecticut.
 5          4.      In 1994, I was admitted to the Bar in Massachusetts. Since then, I have been
 6   admitted to practice before the United States District Court for the District of Massachusetts, the
 7   First Circuit Court of Appeals, the United States District Court for the District of Colorado, the
 8   Sixth Circuit Court of Appeals and the United States Supreme Court.
 9          5.      Following my clerkships, I was employed as a litigation associate with the Boston
10   law firm of Hanify & King. In 1997, I joined the law firm of Mirick O’Connell as a litigation
11   associate where I focused my trial and appellate practice on plaintiff’s personal injury and
12   consumer protection law.
13          6.      In the summer of 2002, I was recognized by the legal publication Massachusetts
14   Lawyers Weekly as one of five “Up and Coming Attorneys” for my work on behalf of
15   consumers and accident victims.
16          7.      My firm keeps contemporaneous time records in Timeslips billing program.
17          8.      In November of 2004, I started my own law firm focusing exclusively on the
18   litigation consumer class actions and serious personal injury cases.
19          9.      My billable rate for this matter is $700 an hour. I am familiar with the rates of
20   attorneys of similar background and experience nationally and am confident the rates are
21   reasonable and in keeping with rates used by other attorneys with similar training and
22   experience. I have used these rates in calculating lodestar for attorneys’ fee purposes in several
23   other nationwide class actions, and they have been approved as reasonable by numerous state
24   and federal courts in approving settlements. See e.g., Mey v. Frontier Communications
25   Corporation, No. 3:13-cv-1191-MPS (D. Ct. June 9, 2017) (approving a $11,000,000 settlement
26   and attorney fee of one-third that amount based on my hourly rate of $700); Heidarpour v.
27   Central Payment Co., No. 16-cv-01215 (M.D. Ga. May 4, 2017) (approving a $6,500,000
28
                                                 -2-
                   DECL. MATTHEW P. MCCUE SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
                Case 4:17-cv-03806-CW Document 82-1 Filed 07/10/18 Page 3 of 8




 1   settlement and attorney fee of one-third that amount based on my hourly rate of $700); Mey v.
 2   Interstate National Dealer Services, Inc., No. 14-01846 (N.D. Ga June 8, 2016) (approving
 3   $4,200,000 settlement and attorney fee of one-third that amount based on my hourly rate of
 4   $700).
 5            10.    A sampling of other class actions in which I have represented classes of
 6   consumers under the Telephone Consumer Protection Act and been appointed class counsel
 7   follows:
 8
 9   i.             Mey v. Herbalife International, Inc, USDC, D. W. Va., Civil Action No. 01-C-263M.
10                  Co-lead counsel with Attorney Broderick and additional co- counsel, prosecuting
11                  consumer class action pursuant to TCPA on behalf of nationwide class of junk fax
12                  and prerecorded telephone solicitation recipients. $7,000,000 class action settlement
13                  preliminarily approved on July 6, 2007 and granted final approval on February 5,
14                  2008.
15
16   ii.            Mulhern v. MacLeod d/b/a ABC Mortgage Company, Norfolk Superior Court, 2005-
17                  01619 (Donovan, J.). Representing class of Massachusetts consumers who received
18                  unsolicited facsimile advertisements in violation of the TCPA and G.L. c. 93A.
19                  Case certified as a class action, and I was appointed co-lead counsel with Attorney
20                  Edward Broderick by the Court on February 17, 2006, settlement for $475,000
21                  granted final approval by the Court on July 25, 2007.
22
23   iii.           Evan Fray-Witzer, v. Metropolitan Antiques, LLC, NO. 02-5827 Business Session,
24                  (Van Gestel, J.). In this case, the defendant filed two Motions to Dismiss
25                  challenging the plaintiff’s right to pursue a private right of action and challenging
26                  the statute at issue as violative of the telemarketer’s First Amendment rights. Both
27                  Motions to Dismiss were denied. Class certification was then granted, and I was
28
                                                   -3-
                     DECL. MATTHEW P. MCCUE SUPP. PL.’S MOT. CLASS CERTIFICATION
                     Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
            Case 4:17-cv-03806-CW Document 82-1 Filed 07/10/18 Page 4 of 8




 1             appointed co-lead class counsel. Companion to this litigation, my co-counsel and I
 2             successfully litigated the issue of whether commercial general liability insurance
 3             provided coverage for the alleged illegal telemarketing at issue. We ultimately
 4             appealed this issue to the Massachusetts Supreme Judicial Court which issued a
 5             decision reversing the contrary decision of the trial court and finding coverage. See
 6             Terra Nova Insurance v. Fray-Witzer et a l . , 449 Mass. 206 (2007). This case
 7             resolved for $1,800,000.
 8
 9   iv.       Shonk Land Company, LLC v. SG Sales Company, Circuit Court of Kanawha
10             County, West Virginia, Civil Action No. 07-C-1800, settlement for $2,450,000,
11             final approval granted in September of 2009.
12
13   v.        Mann & Company, P.C. v. C-Tech Industries, Inc., USDC, D. Mass., C.A.
14             1:08CV11312-RGS, class action on behalf of recipients of faxes in violation of
15             TCPA, settlement for $1,000,000, final approval granted in January of 2010.
16
17   vi.       Evan Fray Witzer v. Olde Stone Land Survey Company, Inc., Massachusetts Superior
18             Court, Civil Action No. 08-04165 This matter settled for $1,300,000 and final
19             approval was granted on February 3, 2011.
20
21   vii.      Milford & Ford Associates, Inc. and D. Michael Collins vs. Cell-Tek, LLC,
22             USDC, D. Mass. C. A. 1:09-cv- 11261-DPW, class action on behalf of recipients
23             of faxes in violation of TCPA, settlement for $1,800,000, final approval granted
24             August 17, 2011.
25
26
27
28
                                              -4-
                DECL. MATTHEW P. MCCUE SUPP. PL.’S MOT. CLASS CERTIFICATION
                Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
             Case 4:17-cv-03806-CW Document 82-1 Filed 07/10/18 Page 5 of 8




 1   viii.      Collins v. Locks & Keys of Woburn Inc.., Massachusetts Superior Court, Civil Action
 2              No. 07-4207-BLS2 final approval granted August 17, 2011 for TCPA class
 3              settlement of $2,000,000.
 4
 5   ix.        Brey Corp t/a Hobby Works v. Life Time Pavers, Inc., Circuit Court for
 6              Montgomery County, Maryland, Civil Action No. 349410-V. This matter settled for
 7              $1,575,000. Final approval granted in March 2012.
 8
 9   x.         Collins, et al v. ACS, Inc. et al., USDC, District of Massachusetts, Civil Action No.
10              10-CV-11912 a TCPA case for illegal fax advertising, which settled for $1,875,000
11              with final approval granted on September 25, 2012.
12
13   xi.        Desai and Charvat v. ADT Security Services, Inc., USDC, Northern District of
14              Illinois, Civil Action No. 11-CV-1925, settlement of $15,000,000 granted final
15              approval on June 21, 2013.
16
17   xii.       Benzion v. Vivint, 0:12-cv-61826, USDC S.D.Fla., settlement of $6,000,000 granted
18              final approval in February of 2015.
19
20   xiii.      Kensington Physical Therapy v. Jackson Physical Therapy Partners, USDC, District
21              of Maryland, 8:11cv02467, settlement of $4,500,000 granted final approval in
22              February of 2015.
23
24   xiv.       Jay Clogg Realty v. Burger King Corp., USDC, District of Maryland, 8:13cv00662,
25              settlement of $8.5 million granted final approval in May of 2015.
26
27
28
                                               -5-
                 DECL. MATTHEW P. MCCUE SUPP. PL.’S MOT. CLASS CERTIFICATION
                 Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
              Case 4:17-cv-03806-CW Document 82-1 Filed 07/10/18 Page 6 of 8




 1   xv.         Charvat v. AEP Energy,1:14cv03121 ND Ill, class settlement of $6 million granted
 2               final approval on September 28, 2015.
 3
 4   xvi.        Dr. Charles Shulruff, D.D.S. v. Inter-med, Inc., 1:16-cv-00999, ND Ill, class
 5               settlement of $400,000 granted final approval on November 22, 2016.
 6
 7   xvii.       Toney v, Quality Resources, Inc., Cheryl Mercuris and Sempris LLC, 13-cv-00042,
 8               in which a TCPA class settlement was granted final approval on December 1, 2016
 9               with TCPA settlement in the amount of $2,150,00, and a second settlement against
10               the remaining defendants for $3,300,000 was granted preliminary approval on May
11               30, 2018.
12
13   xviii.      Bull v. US Coachways, Inc., USDC, ND. Ill., 1:14-cv-05789, in which a TCPA
14               class settlement was finally approved on November 11, 2016 with an agreement for
15               judgment in the amount of $49,932,375 with an assignment of rights against
16               defendant’s insurance carrier.
17
18   xix.        Smith v. State Farm Mut. Auto. Ins. Co. , et. al., USDC, ND. Ill., 1:13-cv-02018,
19               TCPA class settlement of $7,000,000.00 granted final approval on December 8,
20               2016.
21
22   xx.         Mey v. Frontier Communications Corporation, USDC, D. Ct., 3:13-cv-1191-MPS,
23               a TCPA class settlement of $11,000,000 granted final approval on June 2, 2017.
24
25   xxi.        Biringer v. First Family Insurance, Inc., USDC, ND. Fla., a TCPA class settlement
26               of $2,900,000 granted final approval on April 24, 2017.
27
28
                                                -6-
                  DECL. MATTHEW P. MCCUE SUPP. PL.’S MOT. CLASS CERTIFICATION
                  Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
               Case 4:17-cv-03806-CW Document 82-1 Filed 07/10/18 Page 7 of 8




 1   xxii.        Abramson v. Alpha Gas and Electric, LLC, USDC, SD. NY., 7:15-cv-05299-KMK,
 2                a TCPA class settlement of $1,100,000 granted final approval on May 3, 2017.
 3
 4   xxiii.       Heidarpour v. Central Payment Co., USDC, MD. Ga., 16-cv-01215, a TCPA class
 5                settlement of $6,500,000 granted final approval on May 4, 2017.
 6
 7   xxiv.        Abante Rooter and Plumbing, Inc. v. New York Life Insurance Company, USDC,
 8                SD. NY., 1:16-cv-03588-BCM, a TCPA class settlement of $3,250,000 granted
 9                final approval on February 27, 2018.
10
11   xxv.         Abramson v. CWS Apartment Home, LLC, USDC, WD. Tex., 16-cv-01215, a
12                TCPA class settlement of $368,000.00 granted final approval on May 19, 2017.
13
14   xxvi.        Charvat v. Elizabeth Valente, et al., USDC, NDIL, 1:12-cv-05746, $12,500,000
15                TCPA settlement granted preliminary approval on July 6, 2017.
16
17   xxvii.       Mey v. Got Warranty, Inc., et. al., USDC, NDWV., 5:15-cv-00101-JPB-JES, a
18                TCPA class settlement of $650,000 granted final approval on July 26, 2017.
19
20   xxviii.      Mey v. Patriot Payment Group, LLC, USDC, NDWV., 5:15-cv-00027-JPB-JES, a
21                TCPA class settlement of $3,700,000 granted final approval on July 26, 2017.
22
23   xxix.        Charvat and Wheeler v. Plymouth Rock Energy, LLC, et al., USDC, EDNY, 2:15-
24                cv-04106-JMA-SIL, a TCPA class settlement of $1,675.000 granted preliminary
25                approval on September 15, 2017.
26
27
28
                                                 -7-
                   DECL. MATTHEW P. MCCUE SUPP. PL.’S MOT. CLASS CERTIFICATION
                   Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
               Case 4:17-cv-03806-CW Document 82-1 Filed 07/10/18 Page 8 of 8




 1   xxx.          Fulton Dental, LLC v. Bisco, Inc., USDC, NDIL, 1:15-cv-11038. TCPA class
 2                 settlement for $262,500 granted final approval on March 7, 2018.
 3
 4   xxxi.         Abante Rooter and Plumbing, Inc. v. Birch Communications, Inc., USDC, NDGA,
 5                 1:15-cv-03262-AT. TCPA class settlement of $12,000,000 granted final approval
 6                 on December 14, 2017.
 7
 8   xxxii.        In re Monitronics International, Inc., USDC, ND. WV., 1:13-md-02493-JPB-JES, a
 9                 TCPA class settlement of $28,000,0000 granted final approval on June 12, 2018.
10
11
              I declare under penalty of perjury under the laws of the United States of America that the
12
     foregoing is true and correct.
13
              EXECUTED in Natick, Massachusetts, this 10th day of July, 2018.
14
15
16                                                  /s/ Matthew P. McCue
                                                   Matthew P. McCue
17
18
19
20
21
22
23
24
25
26
27
28
                                                  -8-
                    DECL. MATTHEW P. MCCUE SUPP. PL.’S MOT. CLASS CERTIFICATION
                    Naiman v. Total Merchant Servs., Inc., Case No. 4:17-cv-03806-CW
